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10
11                           UNITED STATES BANKRUPTCY COURT
12                                  DISTRICT OF ARIZONA
13   In re:                                        Chapter 7

14   HOME OPPORTUNITY, LLC,                        Case No. 2:21-bk-09424-EPB

15                 Debtor.                         Adversary Case No. 22-ap-00200
16
     ROBERT A. MACKENZIE, THE CHAPTER
17   7 TRUSTEE FOR THE BANKRUPTCY
                                                   ACCEPTANCE OF SERVICE FOR AND
     ESTATE OF DEBTOR HOME
18                                                 ON BEHALF OF DEFENDANT RED
     OPPORTUNITY, LLC,
                                                   ROCK LANDING, LLC
19                 Plaintiff,
20            v.
21   RED ROCK RIVER, LLC; WINDOW ROCK
     CAPITAL PARTNER, LLC; WINDOW
22   ROCK RESIDENTIAL RECOVERY FUND
     CONSOLIDATOR, LLC; RED ROCK
23
     LANDING, LLC; WINDOW ROCK
24   MANAGER, LLC; AND AMERICAN
     HOMES 4 RENT TRS, LLC,
25
                   Defendants.
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     00317706                                 00317502 3       Page 1 of 2
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                                 Main Document    Page 1 of 2
1           I, Khaled Tarazi, as of the date indicated below do hereby accept service of process
2    of the Summons and Complaint on behalf of Defendant Red Rock Landing, LLC via
3    electronic mail as though the same had been served upon said Defendant by a duly

4    appointed or authorized person to serve process, or as otherwise authorized by the Federal
5    Rules of Civil Procedure and applicable Bankruptcy Rules. This Acceptance of Service
6    is merely to facilitate and establish service of process and does not constitute an
7    appearance or notice of representation as to Defendant for any other purpose.
8           DATED this 2nd day of September, 2022.
9
                                    BUCHALTER, PC
10
11                                  By /s/ Khaled Tarazi (SBN #032446) (with permission)
                                      Khaled Tarazi
12                                    15279 N. Scottsdale Road, Suite 400
                                      Scottsdale, AZ 85254-2659
13
14
15
                                     CERTIFICATE OF SERVICE
16
17              I hereby certify that on this 2nd day of September, 2022, a copy of the attached

18    document was filed via the court’s CM/ECF system, which will send electronic notice to
19
      all counsel of record who have appeared in this case.
20
                                                         /s/ Katie Abbitt
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     00317706                                   00317502 3      Page 2 of 2
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